                                                            United States Bankruptcy Court
                                                                     Northern District of California
    In re   Mountain Investments, LLC                                                                  Case No.   16-50906
                                                                                   Debtor(s)           Chapter    11
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                MOUNTAIN INVESTMENTS LLC’S (PROPOSED) PLAN OF REORGANIZATION,
                                                                DATED SEPTEMBER 26, 2019
                                                                             ARTICLE I
                                                                             SUMMARY
        This Plan of Reorganization (the "Plan") under chapter 11 of the Bankruptcy Code (the "Code") proposes
to pay creditors of Mountain Investments, LLC (the "Debtor") from future rental income.

        This Plan provides for 7 classes of unsecured claims; 1 class of unsecured claims and 1 class of equity
security holders. Unsecured creditors holding allowed claims will receive distributions, which the proponent of
this Plan has valued at approximately 3.9 cents on the dollar. This Plan also provides for the payment of
administrative claims on the effective date of the plan and priority claims over four years from the effective date of
the plan.

       All creditors and equity security holders should refer to Articles III through VI of this Plan for information
regarding the precise treatment of their claim. A disclosure statement that provides more detailed information
regarding this Plan and the rights of creditors and equity security holders has been circulated with this Plan.
Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one. (If you do not have an attorney, you may wish to consult one.)

                                                             ARTICLE II
                                              CLASSIFICATION OF CLAIMS AND INTERESTS
            2.01        Class 1.                 U.S. Bank Trust N.A.

            2.02        Class 2.                 Bank of America N.A.

            2.03        Class 3.                 Bank of America N.A.

            2.04        Class 4.                 Bank of America N.A.

            2.05        Class 5.                 Specialized Loan Servicing, LLC.

            2.06        Class 6.                 U.S. Bank Trust N.A.

            2.07        Class 7.                 U.S. Bank N.A.

            2.08        Class 8.                 General Unsecured Creditors

            2.09        Class 9.                 Equity Interest Holders

                                                         ARTICLE III
                                       TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                                        U.S. TRUSTEES FEES, AND PRIORITY TAX CLAIMS
       3.01 Unclassified Claims. Under section §1123(a)(1), administrative expense claims, and priority tax
claims are not in classes.



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       3.02 Administrative Expense Claims. Each holder of an administrative expense claim allowed under
§ 503 of the Code will be paid in full on the effective date of this Plan (as defined in Article VII), in cash, or upon
such other terms as may be agreed upon by the holder of the claim and the Debtor.

            3.03        Priority Tax Claims. Each holder of a priority tax claim will be paid as follows:

               (1) The Franchise Tax Board will be paid in full in monthly installments beginning December
2019, in the amount of $30.00 for 14 months with a balloon payment of $3,596.10 due February 1, 2021, which
includes interest at 4%. Debtor estimates the term to be 15 months.

       3.04 United States Trustee Fees. All fees required to be paid by 28 U.S.C. §1930(a)(6) (U.S. Trustee
Fees) will accrue and be timely paid until the case is closed, dismissed, or converted to another chapter of the
Code. Any U.S. Trustee Fees owed on or before the effective date of this Plan will be paid on the effective date.
Debtor shall pay post-confirmation U.S. Trustee Fees as they are incurred.

                                                   ARTICLE IV
                                TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN
            4.01        Claims and interests shall be treated as follows under this Plan:

                Class                                                        Impairment                            Treatment
 Class 1 – U.S. Bank Trust N.A.                                Impaired                             Class 1 shall be paid in equal
 (secured by 1256 Tropical Cove,                                                                    monthly installments of $419.40
 Gulfport, Mississippi)                                                                             with the first payment due on
                                                                                                    12/1/19 and a final payment due on
                                                                                                    11/1/49. Interest will accrue at the
                                                                                                    rate of 4%.
                                                                                                    Debtor responsible for insurance
                                                                                                    and taxes.

 Class 2 – Bank of America N.A.                                Impaired                             Class 2 shall be paid in equal
 (secured by 1288 Tropical Court,                                                                   monthly installments of $238.71
 Gulfport, Mississippi)                                                                             with the first payment due on
                                                                                                    12/1/19 and a final payment due on
                                                                                                    11/1/49. Interest will accrue at the
                                                                                                    rate of 4%.
                                                                                                    Debtor responsible for insurance
                                                                                                    and taxes.
 Class 3 – Bank of America N.A.                                Impaired                             Class 3 shall be paid in equal
 (secured by 1290 Tropical Court,                                                                   monthly installments of $238.71
 Gulfport, Mississippi)                                                                             with the first payment due on
                                                                                                    12/1/19 and a final payment due on
                                                                                                    11/1/49. Interest will accrue at the
                                                                                                    rate of 4%.
                                                                                                    Debtor responsible for insurance
                                                                                                    and taxes.
 Class 4 – Bank of America N.A.                                Impaired                             Class 4 shall be paid in equal
 (secured by 1296 Tropical Court,                                                                   monthly installments of $238.71
 Gulfport, Mississippi)                                                                             with the first payment due on
                                                                                                    12/1/19 and a final payment due on
                                                                                                    11/1/49. Interest will accrue at the
                                                                                                    rate of 4%.
                                                                                                    Debtor responsible for insurance
                                                                                                    and taxes.

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 Class 5 – Specialized Loan                                    Impaired and Disputed                     Class 5 shall be paid in monthly
 Servicing, LLC                                                Debtor believes that Creditor has         installments of $675.69 for 360
 (secured by 2222 30th Street,                                 not taken into account all payments       months beginning on 12/1/19 and a
 Gulfport, Mississippi)                                        tendered by Debtor. If Debtor is          final payment due on 11/1/49.
                                                               unable to reach a compromise              Debtor responsible for insurance
                                                               regarding the claim amount, Debtor        and taxes.
                                                               reserves the right to file an objection
                                                               to Creditor’s claim.
 Class 6 – U.S. Bank Trust N.A.                                Impaired and Disputed                     Class 6 shall be paid in monthly
 (secured by 5445 Quail Creek,                                 Debtor believes that Creditor has         installments of $240.00 for 36
 Biloxi, Mississippi                                           not taken into account all payments       months beginning on 12/1/19 and
                                                               tendered by Debtor. If Debtor is          then 324 equal monthly installments
                                                               unable to reach a compromise              of $270.54 with a final payment due
                                                               regarding the claim amount, Debtor        on 11/1/49.
                                                               reserves the right to file an objection   Debtor responsible for insurance
                                                               to Creditor’s claim.                      and taxes.
 Class 7 – U.S. Bank N.A.                                      Impaired                                  The property securing the Class 7
 (secured by 19024 Fieldstone Ct.,                                                                       creditor’s loan shall be surrendered
 Salinas, California                                                                                     and the creditor shall be entitled to
                                                                                                         proceed with its state law remedies
                                                                                                         against the property.
 Class 8 – General Unsecured                                   Impaired                                  Class 8 shall be paid $38,640.00 in
 Creditors                                                                                               the 60 month after the effective
                                                                                                         date. Class 8 creditors are
                                                                                                         expected to be paid 3.9% of their
                                                                                                         claims without interest.
 Class 9 – Equity Interest Holders                             Unimpaired                                Class 9 shall be entitled to the net
                                                                                                         rental income after ordinary and
                                                                                                         necessary expenses and plan
                                                                                                         payments.

                                                          ARTICLE V
                                             ALLOWANCE AND DISALLOWANCE OF CLAIMS
        5.01 Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed [by a
final non-appealable order], and as to which either: (i) a proof of claim has been filed or deemed filed, and the
Debtor or another party in interest has filed an objection; or (ii) no proof of claim has been filed, and the Debtor
has scheduled such claim as disputed, contingent, or unliquidated.

       5.02 Delay of Distribution on a Disputed Claim. Distributions will be made on account of a disputed
claims consistent with the Plan terms until a final, non-appealable order is entered by the Court, at which time the
payments will be recalculated consistent with the Court’s order.

      5.03 Settlement of Disputed Claims. The Debtor will have the power and authority to settle and
compromise a disputed claim with court approval and compliance with Rule 9019 of the Federal Rules of
Bankruptcy Procedure.

                                            ARTICLE VI
                     PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES
            6.01        Assumed Executory Contracts and Unexpired Leases.



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              (a)   The Debtor assumes the following executory contracts and/or unexpired leases
effective upon the date of the entry of the order confirming this Plan:
 Name of Other Parties to Lease or Contract                                        Description of Contract or Lease
 Sally Kirby, Shelby Kirby & Trace King                                            Residential Lease – 1256 Tropical Cove
 Tatianna Graham                                                                   Residential Lease – 1288 Tropical Cove
 Kawenta Harvey                                                                    Residential Lease – 1290 Tropical Cove
 Tiffany Godwin & Johnny Taylor                                                    Residential Lease – 1296 Tropical Cove
 Sarah McKinney                                                                    Residential Lease – 5445 Quail Creek
 Robin Tapper & Ann Vincent                                                        Residential Lease – 5447 Quail Creek
 Maria Cortez                                                                      Residential Lease – 2222 30th Street, Unit #A
 Glenn Robinson                                                                    Residential Lease – 2222 30th Street, Unit #B
 Sandra Howard                                                                     Residential Lease – 2222 30th Street, Unit #C

                (b)     The Debtor will be conclusively deemed to have rejected all executory contracts and/or
unexpired leases not expressly assumed under section 6.01(a) above, or before the date of the order confirming
this Plan, upon the date of the entry of the order confirming this Plan. A proof of a claim arising from the
rejection of an executory contract or unexpired lease under this section must be filed no later than thirty (30) days
after the date of the order confirming this Plan.

                                                            ARTICLE VII
                                               MEANS FOR IMPLEMENTATION OF THE PLAN
       Debtor will fund the Plan from future rental income. Dr. Michael Noble will continue to act as manager of
Debtor.

                                                                          ARTICLE VIII
                                                                      DEFAULT PROVISIONS

        Upon Debtor’s default in making any payments required by the Plan of Reorganization, the
Creditor may serve written notice of default to Debtor and Debtor’s attorney. If Debtor fails to cure the
default within fifteen (15) days after mailing such notice, Creditor may file and serve a declaration under
penalty of perjury specifying the default, together with a proposed order allowing Creditor to proceed
with its state law remedies, which the Court may grant without further notice or hearing.
                                                                          ARTICLE IX
                                                                      GENERAL PROVISIONS
       9.01 Definitions and Rules of Construction. The definitions and rules of construction set forth in §§
101 and 102 of the Code shall apply when terms defined or construed in the Code are used in this Plan, and they
are supplemented by the following definitions:

         9.02 Effective Date of Plan. The effective date of this Plan is the first business day following the date
that is fourteen days after the entry of the order of confirmation. If, however, a stay of the confirmation order is in
effect on that date, the effective date will be the first business day after the date on which the stay of the
confirmation order expires or is otherwise terminated.

         9.03 Severability. If any provision in this Plan is determined to be unenforceable, the determination
will in no way limit or affect the enforceability and operative effect of any other provision of this Plan.

       9.04 Binding Effect. The rights and obligations of any entity named or referred to in this Plan will be
binding upon, and will inure to the benefit of the successors or assigns of such entity.

        9.05 Captions. The headings contained in this Plan are for convenience of reference only and do not
affect the meaning or interpretation of this Plan.
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        9.06 Controlling Effect. Unless a rule of law or procedure is supplied by federal law (including the
Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of California govern this Plan and any
agreements, documents, and instruments executed in connection with this Plan, except as otherwise provided in
this Plan. The residential leases for those rental real properties located in Mississippi shall be governed by the
laws of the State of Mississippi.

       9.07 Corporate Governance. Except as herein provided, the rights of Debtor’s sole member shall be
consistent with Alaska law and any Operating Agreement in effect when the case was filed.

                                                                          ARTICLE X
                                                                     DISCHARGE OF DEBTOR

            10.01 Discharge. Debtor shall be entitled to a discharge upon entry of an order confirming this Plan.

                                                                          ARTICLE XI
                                                                       OTHER PROVISIONS
        Debtor retains the right to pay its obligations under the Plan from the sale of real property owned by
Debtor. Debtor also retains the right to surrender any real property at which time the affected secured creditor
shall be allowed to proceed with a non-judicial foreclosure of its security.

                                                                                       Respectfully submitted,



                                                                                   By:   /s/Michael Noble
                                                                                         Dr. Michael Noble
                                                                                         The Plan Proponent

                                                                                   By:   /s/Ralph P. Guenther
                                                                                         Ralph P. Guenther 124245
                                                                                         Attorney for the Plan Proponent




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